Case 2:17-cv-13062-DML-RSW ECF No. 49-22 filed 04/25/18   PageID.1074   Page 1 of 14




         EXHIBIT 21
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                          Davontae Sanford                                                                                                          ,1“73$
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                            OR TO I'ERMIT lNSI’ ,C'I‘ION 0F PREMISES IN A CIVILAC’I‘JON
     To:                    Southl‘teld Police Department. 26000 Evergreen. PO. Box 2055, Southﬁeld. MI 48037

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     materialll investigative reports involving James Talbert; all communications between
                                                                                           the Southtield Police
            Department and the Detroit Police Department referencing James Talbert:
                                                                                       all communications between Ihe
            Michigan State Police and the Southﬁeld Police Department referencing James Totben.

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 may inspect. measure, survey, photograph. test, or sample the properly or any designated object or
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        The following provisions of Fed. R. Civ. P. 45 are attached , Rule 45(e), relating to the place otcompliancc;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g).
                                                                                                   relating to your duty to
respond to this subpoena and the potential consequences ofnot doing so.

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The name. address. e~mai| address, and telephone number oftlte attorney representing (lmllll’ll/[klrll']                           Plaintiff. Davontae
gantord 77
                                                                                      , , 7,,” , who issues or requests this subpoena. are:
Meghna Phllip, Neuield Scheck Gt Brustin. LLP. 99 Hudson Street, New York. NY 10013. meghna@nsbcivtlrights.oom

                                Notice to the person who issues or requests this subpoena
lfthis subpoena commands the production ol’documcuts. electronically stored information. or tangible things or the
inspection ofpreutises before trial. a notice and a copy ofthc subpoena must be served on each party in this case before
it is served on the person to uhom it is directed. Fed R. Civ. P. 45(a)(4).



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SUSPECT, UNKNOWN (s-suspecn {SOMADGYV (11 052)]
Last Name                                           First Name                                       Middle Name                               Sufﬁx             Mr/Mrs/Ms
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TOLBERT. JAMES (V-VICTIM) [SOMADGW (11052)]
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SUSPECT. UNKNOWN                                                      S-SUSPECT                          99-Relaﬂonshin Unknown

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 Quencd: TOLBERT. JAMES

 Response: TOLEERT. JAMES

 Stalislics Summary
  008.04/2311569              Race: N/A        Sex: M                      Skln TunerN/A
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 Address Summary
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     Case 2:17-cv-13062-DML-RSW ECF No. 49-22 filed 04/25/18                      PageID.1082        Page 9 of 14
                                  SOUTHFIELD POLICE DEPARTMENT
                            ARCHIVED COMPUTER INFORMATION FOR 06-081475
    ARRESTED
               TOLBER'LJAMESJII                                                    MNI: AXXXXXXXX
               26670 EMMETT
               SOUTHFIELD MI 48034     (248)353 - 0288

               JACKETS/10025088
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               REMARKS :
               ARRESTED BY:         5258 -VANLACKEN.DANIEL.D
               ASSISTED BY:         5329 -BIGGENS:SAMUELQ |||

               CHARGES:
                   CHARGE: 1302- ASSAULT FAMILY W/OTHER WEAPON


               DLISSISMT/OTHER Info:
                     OPS:                7000313M|
                     SOC SEC #1

               NAMES USED:
                   TOLBERT,JAMES,III

               ALL SYSTEM ACTIVITIES:
                    ACT   0836                                     DATE         CFS   INC#
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               ALL WARRANT ACTIVITY:
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Case 2:17-cv-13062-DML-RSW ECF No. 49-22 filed 04/25/18                                     PageID.1084   Page 11 of
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        A-000053994                   11/30/06 04 :26                        Page 1
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       TOLBERT.JAMESIIII                                     BLACK/MALE/37-04/23/69 5’06”                 lEOLBS
       26670 EMME'I'F                                        BROWN EYES, BLACK HAIR
       SOU‘I‘HFIELD MI 4.8034                                DARK SKIN, MEDIUM BUILD
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    Case 2:17-cv-13062-DML-RSW ECF No. 49-22 filed 04/25/18                                                                                               PageID.1085                   Page 12 of
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      Case 2:17-cv-13062-DML-RSW ECF No. 49-22 filed 04/25/18                     PageID.1086      Page 13 of
                              SOUTHFIELD POLICE DEPARTMENT
                                             14
                              ARCHIVED COMPUTER INFORMATION FOR 00-046954
    ARRESTED
               TOLaERtJAMES m                                                     MN]: Aooomsaso
               27650 NORTHWESTERN     DESK
               SOUTHFIELD MI 40034 1 ) .
               JACKET$110005919
               B/M 23-04-1969       HGT: 506-      WGT‘165-       EYES:BRO     HAIRzBLK      BLDzMED
                                    SKIN DBR       ETH:           FBI/t:                     ST NBR:
               BIRTHPLACE'
               BOOKING #: 00002482
               ARREST DATE/TIME : 9/20/2000 3:52:00 AM           BOOKING DATE/TIME 9/20/2000 3:52 00 AM
               ARRESTED AT: 25690 SHIAWASSEE.130                 HOW ARRESTED: 0
               REMARKS :
               ARRESTED BY:        5331 -RIVERA,R0LAN00
               ASSISTED av         5213 -KENNEDV,AUTUMN.L
               CHARGES:
                    CHARGE: 1303- ASSAULT FAMILY -STRONG ARM
                    CHARGE: 5297‘ CCW POSSESS OR USE FIREARM UND

               COMMENTS:
                   James ToIbeR InCIdent 00/415954 Pros. Order/10046806
                   10/06/00 Case Closed. Warrant denied by Prosecutor.
                   Insufﬁdem Evidence.

               OTHER ADDRESSES USED:
                    25690 SHIAWASSEE            ‘ 13<$OUTHFIELD M2483500227    10/25/2000   01

               DL/SSISMTIOTHER Info:
                        :          T416367000313 MI
                    SOC SEC #:     336687532

               NAMES USED:
                   TOLBERTJAMES III

               ALL SYSTEM    ACTIVITIES:
                    ACT      DESC                                DATE         CFS    INCIt
                    VIC      ASSAULT FELONIOUS                   12/04/2005   13002 GEE-076695
                    SUS      ASSAULT FELONIOUS                   12/04/2005   13002 05-076695
                    ARR      ASSAULT FELONIOUSDOMESTI            09/20/2000   130020 00-046954

               ALL WARRANT ACTIVITY:
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          Case 2:17-cv-13062-DML-RSW ECF No. 49-22 filed 04/25/18                                PageID.1087             Page 14 of
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